                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

 DONNA LOU and DAREN PARSA, on                      CIVIL ACTION NO. 2:21-cv-00080
 their own behalf and on behalf of their
 deceased minor child, E.P.                         SECTION “D”

                                                    DIVISION (2)
 versus
                                                    JUDGE WENDY B. VITTER

 SHERIFF JOSEPH P. LOPINTO, III, et                 MAGISTRATE DONNA P. CURRAULT
 al.



     DEFENDANTS VICTORY REAL ESTATE INVESTMENTS LA, LLC’S AND
    WESTGATE INVESTORS NO, LLC’S d/b/a WESTGATE SHOPPING CENTER
                 MOTION FOR SUMMARY JUDGMENT


       NOW INTO COURT, through undersigned counsel, come Defendants Victory Real

Estate Investments LA, LLC and Westgate Investors NO, LLC d/b/a Westgate Shopping Center

(“Moving Defendants”), who respectfully move this Honorable Court to dismiss any and all claims

filed by Plaintiffs Daren Parsa and Donna Lou, on their own behalf and on behalf of their deceased

son, E.P. (collectively “Plaintiffs”), against the Moving Defendants.

       Plaintiffs’ only claim against Moving Defendants, the owners of the property on which the

incident at issue occurred, arises from a theory of vicarious liability for the actions of its private

security detail. However, the undisputed record establishes that Moving Defendants had no control

over the security detail’s training, policy, methods, or actions, thus there was no employer-

employee relationship. As such, Moving Defendants cannot be vicariously liable.

       Furthermore, and in the alternative, the private security detail’s actions did not cause any

injury. If Moving Defendants were to be deemed vicariously liable for the private security detail’s
actions, the lack of injury caused by the security detail precludes liability on the part of Moving

Defendants.

       There are no issues of genuine material fact in regard to these issues. Thus, Moving

Defendants are entitled to summary judgment as a matter of law.

       WHEREFORE, for these reasons and the reasons more fully explained in the attached

and incorporated Memorandum in Support, Moving Defendants respectfully request that this

Honorable Court grant this Motion for Summary Judgment, dismissing all of Plaintiffs’ claims

against Defendants Victory Real Estate Investments LA, LLC and Westgate Investors NO, LLC

d/b/a Westgate Shopping Center with prejudice.

                                             Respectfully submitted,

                                             THOMPSON, COE, COUSINS & IRONS, LLP

                                             /s/ Christopher W. Kaul ______________________

                                             CHRISTOPHER W. KAUL (33213), T.A.
                                             MARK A. HILL (33891)
                                             601 Poydras Street, Suite 1850
                                             New Orleans, Louisiana 70130
                                             Telephone:    (504) 526-4350
                                             Facsimile:    (504) 526-4310
                                             E-mail:       ckaul@thompsoncoe.com
                                                           mhill@thompsoncoe.com


                                             COUNSEL FOR VICTORY REAL ESTATE
                                             INVESTMENTS LA, LLC and WESTGATE
                                             INVESTORS NO, LLC D/B/A WESTGATE
                                             SHOPPING CENTER
                                  CERTIFICATE OF SERVICE

        I hereby certify that to the best of my knowledge all counsel of record consent to and

participate in receiving electronic notification from the CM/ECF system, and that the Clerk of the

Court for the Eastern District of Louisiana, using the CM/ECF system, will electronically send

notification of the filing of this pleading to all counsel of record.



                                                By: /s/ Christopher W. Kaul __________________
                                                Christopher W. Kaul
